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 6
 7                                UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
 9
10   MILES RICHARD L. FRANCISCO,               )
                                                                Case No. 3:15-cv-04135 LB
                                               )
11                Plaintiff,                   )
                                               )                STIPULATION FOR DISMISSAL OF
12                v.                           )                ENTIRE ACTION
13                                             )
                                               )
14   CAPITAL ONE BANK (USA), National          )
     Association;                              )
15                                             )
16                Defendant.                   )
     __________________________________________)
17
18          IT IS HEREBY STIPULATED by and between counsel for plaintiff Miles Richard L.
19   Francisco and counsel for defendant Capital One Bank (USA), N.A. (“Capital One”); that
20   plaintiff’s claims against defendant Capital One shall be dismissed with prejudice, each party to
21   bear its own fees and costs, pursuant to Fed. Rule Civ. Proc. 41(a)(1)(A)(ii).
22
     Date: December 2, 2015                                 /s/ Mark F. Anderson
23                                                          Mark F. Anderson, SBN 44787
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26
                                                            Attorney for Plaintiff Michelle Becker
27   //
28   //

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     Date: December 3, 2015                                 /s/ Connie Y. Tcheng
 1                                                          Connie Y. Tcheng
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 5
                                                            Attorneys for Capital One Bank (USA)
 6
 7
                                   FILER ATTESTATION
 8
            Pursuant to Civil Local Rule 5.1(i)(3), I, Mark F. Anderson attest under penalty of
 9
     perjury that concurrence in the filing of this document has been obtained from all of the
10
     signatories.
11
     Dated: December 2, 2015.
12
13                                                /s/ Mark F. Anderson
                                                  Mark F. Anderson
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